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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                           :
                                                   :
                                                   :      CR. NO. 21-CR-003 (RCL)
             v.                                    :
                                                   :
JACOB ANTHONY CHANSLEY,                            :
                                                   :
                  Defendant.                       :

    GOVERNMENT’S NOTICE OF FILING OF VIDEO SENTENCING EXHIBITS

       The United States of America hereby provides notice that it submitted the following

video exhibits to the Government’s Sentencing Memorandum via disc and USAFx folder to

Chambers in the above captioned matter:

       Exhibit 1: Cellphone video from rioter on West front
       Exhibit 2: Capitol CCTV West front stairs leading to Upper West Terrace
       Exhibit 3: Cellphone video from rioter at entrance to Senate Wing door
       Exhibit 4: Capitol CCTV Senate Wing door
       Exhibit 5: Capitol CCTV Senate stairway to landing
       Exhibit 6: Capitol CCTV Senate gallery entrance
       Exhibit 7: Clip from The New Yorker with defendant Chansley in Senate gallery
       Exhibit 8: Cellphone video from rioter with defendant Chansley in Senate gallery
       Exhibit 9: Clip from The New Yorker with defendant Chansley sitting on Senate dais
       Exhibit 10: Clip from The New Yorker with defendant Chansley writing note
       Exhibit 11: Clip from The New Yorker with defendant Chansley giving invocation to
       other rioters
       Exhibit 12: Body Worn Camera from officer removing defendant Chansley from the
       Capitol


                                           Respectfully submitted,

                                           MATTHEW M. GRAVES
                                           UNITED STATES ATTORNEY
                                           D.C. Bar No. 481052

                                           BY:        /s/
                                           KIMBERLY L. PASCHALL
                                           Assistant United States Attorney
                                           Federal Major Crimes Section
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